 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF TENNESSEE
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 ULTIMA SERVICES CORPORATION,                                                    :

         Plaintiff,                                                              :

                  -against-                                                      :    No.

 U.S. DEPARTMENT OF AGRICULTURE,                                                 :
 U.S. SMALL BUSINESS ADMINISTRATION,
 SECRETARY OF AGRICULTURE, and ADMINISTRATOR                                     :
 OF THE SMALL BUSINESS ADMINISTRATION,
                                                                                 :
         Defendants.
                                                                                  :
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                                                 COMPLAINT


         This is an action for race discrimination in violation of the Fifth Amendment to the

 United States Constitution and federal law.


                                       JURISDICTION AND VENUE


         1.       This is an action arising under the Constitution and laws of the United States.

 Jurisdiction is vested in this Court pursuant to 28 U.S.C. §§ 1331 and 1343(3), 5 U.S.C. § 702,

 and 15 U.S.C. § 634(b)(1).


         2.       Venue is proper in this Court because (1) plaintiff’s primary office is in this

 district, (2) discriminatory actions against plaintiff have been effected in this district and actions

 taken elsewhere have had an effect on plaintiff’s business in this district.




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                                             PARTIES


        3.      Plaintiff Ultima Services Corporation (“Ultima”) is a corporation organized under

 the laws of the State of New Mexico with its principal place of business in Greeneville,

 Tennessee.


        4.      Defendant U.S. Department of Agriculture (“USDA”) is a cabinet-level agency of

 the United States government. The Secretary of Agriculture is the head of the Department.

 Sonny Perdue is the current Secretary.


        5.      Defendant U.S. Small Business Adminsitration (“SBA”) is a cabinet-level agency

 of the United States government. The Administrator of the SBA is its head. Chris Pilkerton is

 the current Acting Administrator.


                                     FACTUAL BACKGROUND


        6.      Ultima was and is a “small business” as defined by the SBA.


        7.      Ultima competes for federal contracts with the Department of Agriculture

 reserved for “small businesses” by the SBA. Specifically, Ultima contracts to provide services

 for the Natural Resources Conservation Service (“NRCS”), an agency of the USDA. NRCS

 provides aid to farmers to help them comply with various conservation programs, like crop

 rotation, designed to improve conservation and the environment. The contracts that Ultima

 competes for, and that are at issue in this lawsuit, provide administrative and/or technical support

 to USDA offices that implement NRCS programs.


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        8.      Until recently, Ultima was successful in winning these contracts and in

 completing its obligations under them to the satisfaction of the NRCS. Indeed, in 2017, it won

 four different regional IDIQ (Indefinite Delivery Indefinite Quantity) contracts to provide

 administrative and/or technical support services for NRCS programs covering up to all fifty

 states and several territories of the United States.


        9.      Both IDIQ contracts and individual contracts for state-specific administrative

 and/or technical support services have a base time period, with several options for renewal time

 periods. Historically, USDA has typically exercised the options and renewed contracts for

 administrative and/or technical support services where the company providing the services was

 performing satisfactorily. Prior to 2017, USDA had repeatedly exercised these contract options

 and renewed contracts under which Ultima was providing administrative and/or technical

 support services.


        10.     Beginning in 2018, however, USDA has refused to exercise options, add funding,

 and/or extend contracts on which Ultima was providing administrative and/or technical support

 services for the NRCS. Moreover, after declining to exercise the contract options, USDA has

 not offered these contract opportunities to any company willing to bid on the contracts, or even

 all small businesses willing to bid on the contracts. Rather, USDA has repeatedly, and with

 respect to a large number of these contracts for administrative and/or technical support services

 for NRCS programs, set aside these contracts for a Section 8(a) contractor.


        11.     The “Section 8(a) Program,” as used in this complaint, is the program

 administered by defendant SBA and other agencies of the federal government pursuant to

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 Section 8(a) of the Small Business Act (15 U.S.C. § 637(a)). In 1978, Congress passed Public

 Law 95-507, Section 202(a) of which substantially amended Section 8(a). The SBA

 subsequently promulgated regulations for the operation of the Section 8(a) Program, the current

 version of which appears in Subpart A of Part 124, Chapter 1, Title 13 of the Code of Federal

 Regulations.


        12.     Section 8(a) of the Small Business Act itself authorizes the SBA to enter into

 agreements for goods and services with other government departments and agencies, and to

 subcontract the performance of those agreements to “socially and economically disadvantaged

 small business concerns.” 15 U.S.C. § 637(a)(1)(A), (B). Hence, as the Section 8(a) Program

 was initially conceived, contracts for the benefit of Section 8(a) firms would be subcontracts

 between those firms and the SBA. These contracts can be “sole source” (reserved to one Section

 8(a) firm) or competitive within the Section 8(a) program such that only firms qualified for the

 Section 8(a) Program (“Section 8(a) Firms”) can bid. 13 CFR § 124.501(b). They are not

 available to companies that have not qualified for the Section 8(a) Program.


        13.     More recently, the SBA has granted some federal agencies the authority to

 contract directly with Section 8(a) Firms.


        14.     “Socially and economically disadvantaged small business concerns” are (with

 exceptions not relevant here) “small business concerns” at least 51% owned, and operated, by

 individuals who are socially and economically disadvantaged. 15 U.S.C. § 637(a)(4); 13 CFR

 § 124.102.



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        15.      “Socially disadvantaged individuals” are defined in Section 8(a) as those who

 have “been subjected to racial or ethnic prejudice or cultural bias because of their identity as a

 member of a group without regard to individual qualities.” 15 U.S.C. § 637(a)(5).


        16.     “Economically disadvantaged individuals” are “those socially disadvantaged

 individuals whose ability to compete in the free enterprise system has been impaired due to

 diminished capital and credit opportunities as compared to others in the same business area who

 are not socially disadvantaged.” 15 U.S.C. § 637(a)(6).


        17.     In administering the Section 8(a) Program, the SBA identifies those firms that

 qualify for the program. Other agencies, like the USDA, rely on the SBA’s determination of

 which companies are Section 8(a) Firms in utilizing the Section 8(a) Program and offering

 contracting opportunities to companies under that program.


        18.     In determining which companies are qualified for the Section 8(a) Program, the

 SBA presumes that individual members of certain racial and ethnic groups are “socially

 disadvantaged.” These include Black Americans, Hispanic Americans, Native Americans, Asian

 Pacific Americans, and Subcontinent Asian Americans. 13 CFR § 124.103(b). Accordingly,

 companies owned by members of these groups have an advantage, based upon the owners’ race

 and/or national origin, in having their firms qualify as Section 8(a) Firms.


        19.     In the absence of SBA’s presumption, far fewer firms would qualify as Section

 8(a) Firms and far fewer contracts would be reserved for the Section 8(a) Program.


        20.     In the absence of SBA’s presumption, Ultima would have far more opportunities

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 to bid on contracting opportunities with USDA.


        21.       Because of defendants’ decisions to reserve contracts for Section 8(a) Firms,

 Ultima has been unable to complete for contracts which it successfully performed in the past and

 could perform again in the future. Accordingly, it has suffered damages as a consequence.


        22.       Ultima’s owner is not a member of a racial minority and, accordingly, cannot be

 presumed to be socially disadvantaged. Ultima is not a Section 8(a) Firm.


        23.       The SBA does not keep a database or statistics that would allow it to ascertain the

 capital and credit opportunities of those who are not socially disadvantaged in a particular

 business area.


        24.       The SBA does not keep a database or statistics that would allow it to compare the

 capital and credit opportunities of the owners of any particular company in the Section 8(a)

 Program with those not socially disadvantaged in the same business area.


        25.       Instead, the SBA determines whether an owner and/or operator of a potential

 Section 8(a) Firm is “economically disadvantaged” by examining the personal financial

 condition of those owners and/or operators.


        26.       The SBA considers owners of applicants to the Section 8(a) Program with up to

 $4 million in assets, excluding retirement accounts, to be “economically disadvantaged” if they

 meet certain other requirements.


        27.       The SBA considers owners of companies currently in the Section 8(a) Program

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 with up to $6 million in assets, excluding retirement accounts, to be “economically

 disadvantaged” if they meet certain other requirements.


        28.     In determining whether a particular USDA contract in an industry is appropriate

 for the Section 8(a) Program, neither the SBA nor the USDA examines whether a particular

 racial group is underrepresented in that industry.


        29.     Other than determining that the company obtaining the contract qualifies for the

 Section 8(a) Program, the SBA and the USDA have broad discretion in determining whether a

 contract should be reserved for the program.


        30.     Plaintiff believes that discovery will show that neither the SBA or the USDA has

 evidence that any particular racial or ethnic group is underrepresented in the administrative

 and/or technical support service industry and other areas in which Ultima competes for USDA

 contracts.


        31.     Even assuming there was evidence of underrepresentation of particular racial

 groups in the administrative and/or technical support service industry, defendants have no

 evidence that such underrepresentation was a consequence of discrimination either by the federal

 government or in which the federal government was a passive participant.


        32.     In amending Section 8(a) of the Small Business Act in 1978, Congress did not

 have any evidence that any underrepresentation of particular racial groups in federal government

 contracting was a consequence of discrimination either by the federal government or in which

 the federal government was a passive participant.

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        33.     Although there are goals for participation of Section 8(a) Firms in the Section

 8(a) Program, the participation goals are unrelated to any evidence of the present effects of past

 discrimination in any particular industry or in the federal government at large.


        34.     The reservation of NRCS administrative and/or technical support contracts has

 not been necessary to achieve any reasonable goals set by defendants.


        35.     Because of the presumption of social disadvantage, the vast majority of Section

 8(a) contractors are owned and controlled by members of the racial or ethnic groups advantaged

 by that presumption. USDA has had a racial motive in reserving NRCS administrative and/or

 technical support service contracts for the Section 8(a) Program.


        36.     Defendants reserve contracts for the Section 8(a) Program even in industries that

 have low capital requirements for entry.


        37.     The Section 8(a) Program has no sunset or termination date.


        38.     As operated by the SBA, the Section 8(a) Program has no criteria by which the

 SBA can determine that specific racial groups should no longer have its members presumed to be

 socially disadvantaged.


        39.     As operated by the SBA, the Section 8(a) Program has no criteria by which the

 SBA could determine that specific racial or ethnic groups are no longer suffering the present

 effects of past discrimination.


        40.      In fact, although racial and/or ethnic groups have been added to the groups

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 deemed to be presumptively socially disadvantaged, no racial or ethnic group ever has been

 removed from that list on the ground that that group is no longer adversely affected by the

 present effects of past discrimination.


           FIRST CLAIM FOR RELIEF (for non-monetary relief against all defendants)


        41.      By presuming that members of certain racial groups are socially disadvantaged,

 defendants and the Section 8(a) Program discriminate on the basis of race.


        42.      Defendants do not have a compelling governmental interest to support the

 discrimination in the operation of the Section 8(a) Program.


        43.      Even if defendants had a compelling governmental interest, the Section 8(a)

 Program, as operated by defendants, is not narrowly tailored to meet any such interest.


        44.      Accordingly, defendants’ race discrimination in the Section 8(a) Program violates

 the Fifth Amendment to the United States Constitution.


        45.      Because defendants’ race discrimination in the Section 8(a) Program

 discriminates in the award of contracts by the federal government, it also violates 42 U.S.C.

 § 1981.


        46.      In the absence of declaratory or injunctive relief, defendants will continue to

 award administrative and/or technical support contracts for NRCS programs through the Section

 8(a) Program.



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       47.      In the absence of declaratory or injunctive relief, plaintiff will be harmed by the

continuing reservation of contracts for administrative and/or technical support for NRCS

programs for the Section 8(a) Program because Plaintiff will be unable to compete at all, much

less on an equal basis, for such contracts.


            SECOND CLAIM FOR RELIEF (for monetary relief against defendant SBA)


       48.      Ultima has lost contracts and suffered damages as a consequence of defendant

SBA’s illegal discrimination in violation of 42 U.S.C. § 1981.


                                       Demand For Judgment


       WHEREFORE plaintiff demands judgment:


       A.       A declaratory judgment that defendants are violating the Fifth Amendment to the

United States Constitution and 42 U.S.C. § 1981;


       B.       Injunctive relief precluding defendants from reserving NRCS contracts for the

Section 8(a) Program;


       C.       Require defendants to reinstate contracts that defendants refused to renew for

discriminatory reasons and/or replaced plaintiff with a Section 8(a) contractor;


       D.       Damages in an amount to be determined;


       E.       Attorney's fees and costs pursuant to 28 U.S.C. §§ 1920, 2412(a), or 2412(b), 42

U.S.C. § 1988, or any other applicable authority; and

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      F.     Any other relief that is appropriate.


Dated: March 3, 2020


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